 Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 1 of 17 Page ID #:1




1
     Stephen M. Doniger (SBN 179314)
     stephen@donigerlawfirm.com
2    Scott A. Burroughs (SBN 235718)
3
     scott@donigerlawfirm.com
     Frank Gregory Casella (SBN 301494)
4    fcasella@donigerlawfirm.com
5
     DONIGER/BURROUGHS
     603 Rose Avenue
6    Venice California 90291
7
     Telephone: (310) 590-1820

8    Attorneys for Plaintiff
9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11

12   MINDEN PICTURES, INC., a California             Case No.:
13   Corporation;
                                                        PLAINTIFF’S COMPLAINT FOR
14   Plaintiff,                                         COPYRIGHT INFRINGEMENT
15
     v.                                                  Jury Trial Demanded
16

17   ZEALOT NETWORKS, INC., a California
     corporation; and DOES 1 through 10,
18

19   Defendants.
20

21         MINDEN PICTURES, INC., by and through its undersigned attorneys, hereby
22   prays to this honorable Court for relief based on the following:
23                             JURISDICTION AND VENUE
24         1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101
25   et seq.
26         2. This Court has federal question jurisdiction under 28 U.S.C. § 1331 and
27   1338 (a) and (b).
                                                1
28                                          COMPLAINT
 Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 2 of 17 Page ID #:2




1         3. Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
2    1400(a) in that this is the judicial district in which a substantial part of the acts and
3    omissions giving rise to the claims occurred.
4                                          PARTIES
5         4. Plaintiff MINDEN PICTURES, INC (“MINDEN”) is a corporation
6    organized and existing under the laws of the state of California, with its primary
7    place of business located at 9565 Soquel Drive, Suite 202, Aptos, California 95003.
8         5. Plaintiff is informed and believes and thereon alleges that Defendant
9    ZEALOT NETWORKS, INC. (“ZEALOT”) is a California corporation with its
10   primary place of business located at 660 Venice Blvd., Venice, California 90291,
11   and is the owner of the website at http://www.viralnova.com.
12        6. Plaintiff is informed and believes and thereon alleges that Defendants
13   DOES 1 through 10, inclusive, are other parties not yet identified who have infringed
14   Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s copyrights,
15   or have engaged in one or more of the wrongful practices alleged herein. The true
16   names, whether corporate, individual or otherwise, of Defendants 1 through 10,
17   inclusive, are presently unknown to Plaintiff, which therefore sues said Defendants
18   by such fictitious names, and will seek leave to amend this Complaint to show their
19   true names and capacities when same have been ascertained.
20        7. Plaintiff is informed and believes and thereon alleges that at all times
21   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
22   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
23   at all times acting within the scope of such agency, affiliation, alter-ego relationship
24   and/or employment; and actively participated in or subsequently ratified and/or
25   adopted each of the acts or conduct alleged, with full knowledge of all the facts and
26   circumstances, including, but not limited to, full knowledge of each violation of
27   Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
                                                2
28                                          COMPLAINT
 Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 3 of 17 Page ID #:3




1                CLAIMS RELATED TO SUBJECT PHOTOGRAPH A
2         8. Plaintiff MINDEN owns an original photograph entitled “00091121”
3    (“Subject Photograph A”) that was registered with the United States Copyright
4    Office on 23 December, 2008 with the Registration Number VA 1-716-821. Plaintiff
5    is the sole owner of the exclusive rights in Subject Photograph A.
6         9. Plaintiff is informed and believes and thereon alleges that following its
7    publication and display of Subject Photograph A, ZEALOT, DOE Defendants, and
8    each of them used Subject Photograph A without Plaintiff’s authorization for
9    commercial purposes in various ways, including, but not limited to, the use on
10   websites such as http://www.viralnova.com.
11        10. An image of Subject Photograph A and a screen capture of Defendant’s
12   website with Subject Photograph A embedded are set forth hereinbelow:
13                                 Subject Photograph A
14

15

16

17

18

19

20

21

22

23

24

25

26

27
                                               3
28                                        COMPLAINT
 Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 4 of 17 Page ID #:4




1                                    Screen Capture A
2

3

4

5

6

7

8

9

10

11

12

13               CLAIMS RELATED TO SUBJECT PHOTOGRAPH B
14        11.Plaintiff MINDEN owns an original photograph entitled “00217744”
15   (“Subject Photograph B”) that was registered with the United States Copyright
16   Office on 16 January, 2009 with the Registration Number VA 1-700-957. Plaintiff is
17   the sole owner of the exclusive rights in Subject Photograph B.
18        12.Plaintiff is informed and believes and thereon alleges that following its
19   publication and display of Subject Photograph B, ZEALOT, DOE Defendants, and
20   each of them used Subject Photograph B without Plaintiff’s authorization for
21   commercial purposes in various ways, including, but not limited to, the use on
22   websites such as http://www.viralnova.com.
23        13. An image of Subject Photograph B and a screen capture of Defendant’s
24   website with Subject Photograph B embedded are set forth hereinbelow:
25   //
26   //
27   //
                                               4
28                                        COMPLAINT
 Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 5 of 17 Page ID #:5




1                                  Subject Photograph B
2

3

4

5

6

7

8

9

10

11                                   Screen Capture B
12

13

14

15

16

17

18

19

20

21

22               CLAIMS RELATED TO SUBJECT PHOTOGRAPH C
23        14.Plaintiff MINDEN owns an original photograph entitled “00097553”
24   (“Subject Photograph C”) that was registered with the United States Copyright
25   Office on 18 February, 1997 with the Registration Number VA 847-928. Plaintiff is
26   the sole owner of the exclusive rights in Subject Photograph C.
27
                                              5
28                                        COMPLAINT
 Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 6 of 17 Page ID #:6




1         15.Plaintiff is informed and believes and thereon alleges that following its
2    publication and display of Subject Photograph C, ZEALOT, DOE Defendants, and
3    each of them used Subject Photograph C without Plaintiff’s authorization for
4    commercial purposes in various ways, including, but not limited to, the use on
5    websites such as http://www.viralnova.com.
6         16. An image of Subject Photograph C and a screen capture of Defendant’s
7    website with Subject Photograph C embedded are set forth hereinbelow:
8                                  Subject Photograph C
9

10

11

12

13

14

15

16

17                                   Screen Capture C
18

19

20

21

22

23

24

25

26

27
                                               6
28                                        COMPLAINT
 Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 7 of 17 Page ID #:7




1                CLAIMS RELATED TO SUBJECT PHOTOGRAPH D
2         17.Plaintiff MINDEN owns an original photograph entitled “00206982”
3    (“Subject Photograph D”) that was registered with the United States Copyright
4    Office on 23 December, 2008 with the Registration Number VA 1-725-366. Plaintiff
5    is the sole owner of the exclusive rights in Subject Photograph D.
6         18.Plaintiff is informed and believes and thereon alleges that following its
7    publication and display of Subject Photograph D, ZEALOT, DOE Defendants, and
8    each of them used Subject Photograph D without Plaintiff’s authorization for
9    commercial purposes in various ways, including, but not limited to, the use on
10   websites such as http://www.viralnova.com.
11        19. An image of Subject Photograph D and a screen capture of Defendant’s
12   website with Subject Photograph D embedded are set forth hereinbelow:
13                                 Subject Photograph D
14

15

16

17

18

19

20

21

22

23

24

25

26

27
                                               7
28                                        COMPLAINT
 Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 8 of 17 Page ID #:8




1                                    Screen Capture D
2

3

4

5

6

7

8

9                CLAIMS RELATED TO SUBJECT PHOTOGRAPH E
10        20.Plaintiff MINDEN owns an original photograph entitled “00977051”
11   (“Subject Photograph E”) that was registered with the United States Copyright
12   Office on 26 October, 1998 with the Registration Number VAu 440-861. Plaintiff is
13   the sole owner of the exclusive rights in Subject Photograph E.
14        21.Plaintiff is informed and believes and thereon alleges that following its
15   publication and display of Subject Photograph E, ZEALOT, DOE Defendants, and
16   each of them used Subject Photograph E without Plaintiff’s authorization for
17   commercial purposes in various ways, including, but not limited to, the use on
18   websites such as http://www.viralnova.com.
19        22. An image of Subject Photograph E and a screen capture of Defendant’s
20   website with Subject Photograph E embedded are set forth hereinbelow:
21                                 Subject Photograph E
22

23

24

25

26

27
                                               8
28                                        COMPLAINT
 Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 9 of 17 Page ID #:9




1                                     Screen Capture E
2

3

4

5

6

7

8

9

10

11

12               CLAIMS RELATED TO SUBJECT PHOTOGRAPH F
13         23.Plaintiff MINDEN owns an original photograph entitled “00477782”
14   (“Subject Photograph F”) that was registered with the United States Copyright
15   Office on 10 February, 2017 with the Registration Number VA 2-050-089. Plaintiff
16   is the sole owner of the exclusive rights in Subject Photograph F.
17         24.Plaintiff is informed and believes and thereon alleges that following its
18   publication and display of Subject Photograph F, ZEALOT, DOE Defendants, and
19   each of them used Subject Photograph F without Plaintiff’s authorization for
20   commercial purposes in various ways, including, but not limited to, the use on
21   websites such as http://www.viralnova.com.
22         25. An image of Subject Photograph F and a screen capture of Defendant’s
23   website with Subject Photograph F embedded are set forth hereinbelow:
24   ///
25   ///
26

27
                                                9
28                                         COMPLAINT
Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 10 of 17 Page ID #:10




1                                  Subject Photograph F
2

3

4

5

6

7

8

9

10

11                                   Screen Capture F
12

13

14

15

16

17

18

19

20

21

22

23               CLAIMS RELATED TO SUBJECT PHOTOGRAPH G
24        26.Plaintiff MINDEN owns an original photograph entitled “00465562”
25   (“Subject Photograph G”) that was registered with the United States Copyright
26   Office on 06 February, 2017 with the Registration Number VA 2-050-141. Plaintiff
27   is the sole owner of the exclusive rights in Subject Photograph G.
                                              10
28                                        COMPLAINT
Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 11 of 17 Page ID #:11




1         27.Plaintiff is informed and believes and thereon alleges that following its
2    publication and display of Subject Photograph G, ZEALOT, DOE Defendants, and
3    each of them used Subject Photograph G without Plaintiff’s authorization for
4    commercial purposes in various ways, including, but not limited to, the use on
5    websites such as http://www.viralnova.com.
6         28. An image of Subject Photograph G and a screen capture of Defendant’s
7    website with Subject Photograph G embedded are set forth hereinbelow:
8                                  Subject Photograph G
9

10

11

12

13

14

15

16

17                                   Screen Capture G
18

19

20

21

22

23

24

25

26

27
                                              11
28                                        COMPLAINT
Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 12 of 17 Page ID #:12




1                CLAIMS RELATED TO SUBJECT PHOTOGRAPH H
2         29.Plaintiff MINDEN owns an original photograph entitled “00542026”
3    (“Subject Photograph H”) that was registered with the United States Copyright
4    Office on 06 February, 2017 with the Registration Number VA 2-053-788. Plaintiff
5    is the sole owner of the exclusive rights in Subject Photograph H.
6         30.Plaintiff is informed and believes and thereon alleges that following its
7    publication and display of Subject Photograph H, ZEALOT, DOE Defendants, and
8    each of them used Subject Photograph H without Plaintiff’s authorization for
9    commercial purposes in various ways, including, but not limited to, the use on
10   websites such as http://www.viralnova.com.
11        31. An image of Subject Photograph H and a screen capture of Defendant’s
12   website with Subject Photograph H embedded are set forth hereinbelow:
13                                 Subject Photograph H
14

15

16

17

18

19

20                                   Screen Capture H
21

22

23

24

25

26

27
                                              12
28                                        COMPLAINT
Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 13 of 17 Page ID #:13




1                CLAIMS RELATED TO SUBJECT PHOTOGRAPH I
2         32.Plaintiff MINDEN owns an original photograph entitled “00205937”
3    (“Subject Photograph I”) that was registered with the United States Copyright Office
4    on 09 January, 2009 with the Registration Number VA 1 715-026. Plaintiff is the
5    sole owner of the exclusive rights in Subject Photograph I.
6         33.Plaintiff is informed and believes and thereon alleges that following its
7    publication and display of Subject Photograph I, ZEALOT, DOE Defendants, and
8    each of them used Subject Photograph I without Plaintiff’s authorization for
9    commercial purposes on http://www.viralnova.com.
10        34. An image of Subject Photograph I and a screen capture of Defendant’s
11   website with Subject Photograph I embedded are set forth hereinbelow:
12                                 Subject Photograph I
13

14

15

16

17

18

19

20                                    Screen Capture I
21

22

23

24

25

26

27
                                              13
28                                        COMPLAINT
Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 14 of 17 Page ID #:14




1                 CLAIMS RELATED TO SUBJECT PHOTOGRAPH J
2          35.Plaintiff MINDEN owns an original photograph entitled “477172”
3    (“Subject Photograph J”) that was registered with the United States Copyright Office
4    on 17 January, 2017 with the Registration Number VA 2-052-778. Plaintiff is the
5     sole owner of the exclusive rights in Subject Photograph J.
6          36.Plaintiff is informed and believes and thereon alleges that following its
7     publication and display of Subject Photograph J, ZEALOT, DOE Defendants, and
8     each of them used Subject Photograph J without Plaintiff’s authorization for
9     commercial purposes in various ways, including, but not limited to, the use on
10    websites such as http://www.viralnova.com.
11         37. An image of Subject Photograph J and a screen capture of Defendant’s
12    website with Subject Photograph J embedded are set forth hereinbelow:
13                                  Subject Photograph J
14

15

16

17

18

19

20

21

22

23

24

25

26   ///
27   ///
                                               14
28                                         COMPLAINT
Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 15 of 17 Page ID #:15




1                                      Screen Capture J
2

3

4

5

6

7

8

9

10

11                              FIRST CLAIM FOR RELIEF
12            (For Copyright Infringement - Against All Defendants, and Each)
13        38. Plaintiff repeats, realleges and incorporates herein by reference as though
14   fully set forth the allegations contained in the preceding paragraphs of this
15   Complaint.
16        39. Plaintiff is informed and believes and thereon alleges that Defendants, and
17   each of them, had access to Subject Photograph A; Subject Photograph B; Subject
18   Photograph C; Subject Photograph D; Subject Photograph E; Subject Photography F;
19   Subject Photograph G; Subject Photograph H; Subject Photograph I; and Subject
20   Photography J (collectively, the “Subject Photographs”), including, without
21   limitation, through Plaintiff’s website and social media accounts or viewing the
22   Subject Photographs on third-party websites (e.g., Tumblr, Pinterest, etc.).
23        40. Plaintiff is informed and believes and thereon alleges that Defendants, and
24   each of them, used and distributed images of the Subject Photographs, and exploited
25   said images in multiple website posts without Plaintiff’s authorization or consent.
26        41. Due to Defendants’, and each of their, acts of infringement, Plaintiff has
27   suffered damages in an amount to be established at trial.
                                               15
28                                         COMPLAINT
Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 16 of 17 Page ID #:16




1          42. Due to Defendants’, and each of their, acts of copyright infringement as
2    alleged herein, Defendants, and each of them, have obtained profits they would not
3    otherwise have realized but for their infringement of the Subject Photographs. As
4    such, Plaintiff is entitled to disgorgement of Defendants’, and each of their, profits
5    attributable to the infringement of the Subject Photographs in an amount to be
6    established at trial.
7          43. Plaintiff is informed and believes and thereon alleges that Defendants, and
8    each of them, have committed copyright infringement with actual or constructive
9    knowledge of Plaintiff’s rights such that said acts of copyright infringement were,
10   and continue to be, willful, intentional and malicious.
11                                  PRAYER FOR RELIEF
12         Wherefore, Plaintiff prays for judgment as follows:
13             a. That Defendants—each of them—and their respective agents and
14                servants be enjoined from importing, manufacturing, distributing,
15                offering for sale, selling or otherwise trafficking in any product that
16                infringes Plaintiff’s copyrights in the Subject Photographs;
17             b. That Plaintiff be awarded all profits of Defendants, and each of them,
18                plus all losses of Plaintiff, the exact sum to be proven at the time of trial,
19                or, if elected before final judgment, statutory damages as available under
20                the Copyright Act, 17 U.S.C. § 101 et seq.;
21             c. That Plaintiff be awarded its attorneys’ fees as available under the
22                Copyright Act U.S.C. § 101 et seq.;
23             d. That Plaintiff be awarded pre-judgment interest as allowed by law;
24             e. That Plaintiff be awarded the costs of this action; and
25             f. That Plaintiff be awarded such further legal and equitable relief as the
26                Court deems proper.
27
                                                 16
28                                           COMPLAINT
Case 2:18-cv-06747-R-AS Document 1 Filed 08/06/18 Page 17 of 17 Page ID #:17




1          Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
2    38 and the 7th Amendment to the United States Constitution.
3
     Dated: August 6, 2018                           DONIGER/BURROUGHS
4

5
                                            By:      /s/ Stephen M. Doniger
                                                     Stephen M. Doniger, Esq.
6                                                    Frank Gregory Casella, Esq.
7
                                                     Attorneys for Plaintiff

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
                                                17
28                                          COMPLAINT
